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DATE REVIEWED: 4-22-2020

INSTITUTION: FPC Alderson, WV UNIT: A Building, Range 2
INMATE NAME: Liptrot, Shanekia REG NO: 22181-040

FIRST STEP ACT (Circle One): / INELIGIBLE

RECIDIVISM RISK LEVEL (Circle One): ~~. OW MEDIUM HIGH
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oe FEMALE PATTERN RISK SCORING :
Register Number: 22181-040 Date: 9/10/2020
Inmate Name: liptrol, shamekia

Current Age

Click on gray dropdown box to select, then click on
dropdown arrow

ATTER

Criminal History Points

History of Escapes
> 10 Years Minor

5-10 Years Minor

None
> 10 Years Minor
> 15 Years Serious
5-10 Years Minor
Q- 15 Years Serious
<5 Years
- 10 Years Serious
< 5
. Education Score
HS Degree/GED Enrolled in

. Drug Program Status No DAP
No DAP Completed NRDAP Com
RDAP

ent Reports (120 months)

. Serious Incident Reports (120

>

10. Time Since Last Incident Report 12+ months or no incidents
12+ months or no 7-12 manths
3-6 months.
<
11. Time Since Last Incident Report 12+ months or no incidents
12+ months or no incidents 7-12 months
3-6 months

FRP Refusal

Programs Com

Programs
0 Programs .

Total Score (Sum of Columns) General: Violent:

General/Violent Risk Levels General: Violent:

—* =) OVERALL FEMALE PATTERN RISK LEVEL

-1

Minimum

 
